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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


KIRK NIELSEN et al.,

       Plaintiffs,
                                            CONSOLIDATED
              v.                            CASE NO. 4:20cv236-RH-MJF

RON DESANTIS et al.,

       Defendants.

_____________________________/

 DREAM DEFENDERS PLAINTIFFS’ MOTION FOR LEAVE TO FILE A
              THIRD AMENDED COMPLAINT


      Pursuant to Rule 15(a)(2), Federal Rules of Civil Procedure and N.D. Fla.

Local Rule 15.1, Plaintiffs Celcio Eduardo Romero, Sheila Young, Zebra Coalition,

Murray Heller, Acacia Williams, Bianca Maria Baez, Paulina Hernandez Morales,

Dream Defenders, Organize Florida, and New Florida Majority Education Fund

(collectively, the “Dream Defender Plaintiffs”) respectfully request that the Court

enter an order granting the Dream Defender Plaintiffs leave to file the Third

Amended Complaint attached hereto as Exhibit 1, which has been narrowly revised,

for the sole purpose of adding the most recently appointed members of the Florida

Election Canvassing Commission (“ECC”), who will comprise at least a majority of



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the ECC for the 2020 Primary Election and 2020 General Election. As grounds for

this relief, the Dream Defender Plaintiffs state:

   1. On March 16, 2020, the Dream Defender Plaintiffs filed their initial

Complaint (Case No. 1:20-cv-00067-RH-GRJ, ECF No. 1) against Defendants,

including Governor DeSantis, Florida Secretary of State Laurel M. Lee, and the

Florida Elections Canvassing Commission (“ECC”) (collectively, the “State-Level

Plaintiffs”).

   2. The Complaint was served on, among others, Governor DeSantis’s authorized

agent (see Ex 2, hereto), and the ECC’s authorized agent (see Ex 3, hereto). In this

way, the ECC received notice of this case near its inception.

   3. Pursuant to the parties’ agreement in their Rule 26(f) report (ECF No. 25),

and this Court’s scheduling order (ECF No. 26) Plaintiffs filed their First Amended

Complaint on April 20, 2020 (Case No. 1:20-cv-00067-RH-GRJ, ECF No. 35).

   4. Following that amendment, the United States Court of Appeals for the

Eleventh Circuit issued its decision in Jacobson v. Lee, No. 19-14552 (11th Cir., Apr.

29, 2020). The Jacobson court held both that plaintiffs lacked standing to obtain the

relief requested in that case against the Florida Secretary of State and elaborated on

the existing law concerning the facts an organizational plaintiff must prove to

establish standing in its own right. Accordingly, Dream Defender Plaintiffs filed a




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Second Amended Complaint on May 8, 2020. (ECF No. 46-47). The Second

Amended Complaint named the 67 individual Florida County Supervisors of

Elections and the 67 County Canvassing Commissions as defendants.

   5. On June 10, 2020, the Court raised sua sponte the issue of whether the claims

against the ECC are barred by the Eleventh Amendment. (ECF No. 222).

   6. As is described in greater detail in Dream Defender Plaintiffs’ Second

Amended Complaint and their Combined Opposition to the Motions to Dismiss

Filed by the Secretary of State and the Election Canvassing Commission (ECF 246),

the ECC is necessary to this case in order to ensure that any extension to the vote

by mail or cure period deadlines is compatible with deadlines for filing election

results with the ECC, which deadlines the ECC may modify under certain

emergency situations. See F.S. 112.112(4). Thus, to assure complete relief is

available for all of Dream Defender Plaintiffs’ claims, Dream Defender Plaintiffs

hereby seek leave of the Court to file a Third Amended Complaint to add the

individual ECC members, who served during the 2020 Presidential Preference

Primary, and are expected to serve on the ECC, or to comprise at least a majority of

the ECC, for the 2020 Primary and 2020 General Elections. (The specific ECC

Commissioners for the August 2020 Primary and the 2020 General Elections have

not yet been designated by the Governor.)




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    7. Dream Defender Plaintiffs, in their Combined Opposition to the Motions to

Dismiss Filed by the Secretary of State and the Election Canvassing Commission

(ECF 246) addressed the Eleventh Amendment issue raised by the Court, and gave

notice to the Court that Dream Defender Plaintiffs would seek leave to amend their

complaint to add the individual ECC members as defendants, if needed to address

Eleventh Amendment issues. (ECF 246, page 40, n7).1

    8. The Dream Defender Plaintiffs do not intend by this motion or by the filing

of the Third Amended Complaint to moot the motions to dismiss currently asserted

against the Second Amended Complaint. Rather, the Dream Defender Plaintiffs

submit that it is appropriate to resolve those motions as if asserted against the Third

Amended Complaint, which shares the same substantive content as the Second

Amended Complaint.

                         Incorporated Memorandum Of Law

       The only change proposed in this Third Amended Complaint is deleting

Acacia Williams as a plaintiff, as already Ordered by this Court (ECF 73), and

adding as defendants the individual members of the ECC. Granting this motion will




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 The Nielsen Plaintiffs similarly sought leave to file an amended complaint to add the individual
members of the ECC as defendants, which was granted on June 24, 2020. See ECF 284, 288, 292,
and 329.



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not prejudice the ECC members, since the ECC has already had notice of this case

as a named defendant, and leave to amend complaints to add individual commission

members to address Eleventh Amendment concerns is freely granted in the Eleventh

Circuit. See Brown v. Georgia Dept. of Revenue, 881 F. 2d 1018, 1023 (11th Cir.

1989). Rather than repeat the arguments in full herein, the Dream Defender

Plaintiffs hereby adopt the reasoning provided by the Nielsen Plaintiffs set forth in

their motion for leave to file their Second Amended Complaint. See ECF No. 284,

288, and 292. For the reasons provided more fully therein, Dream Defendant

Plaintiffs respectfully request that the Court issue an order granting Plaintiffs’

motion and leave to file the Third Amended Complaint, attached hereto as Exhibit

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Respectfully submitted,

Dated: June 25, 2020                    s/ Stuart C. Naifeh

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                             CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that a true and correct copy of the

foregoing was filed with the Court’s CM/ECF system, which provides notice to all

parties, on this 19th day of June, 2020.

                                                       s/ Stuart C. Naifeh




          CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

        Pursuant to Northern District of Florida Local Rule 7.1(B), the undersigned

counsel has communicated in good faith with counsel for all Defendants who have

appeared in the case as of June 25, 2020, and has been informed that:

             • Florida Attorney General Ashley Moody opposes the motion;

             • The Supervisors of Elections for Alachua, Brevard, Escambia, Flagler,

                 Gilchrist, Gulf, Hernando, Highlands, Hillsborough, Jefferson,

                 Madison, and Okaloosa Counties have no objection to this motion;

             • The Canvassing Boards of Alachua, Escambia, Hernando,

                 Hillsborough, and Pasco Counties have no objection to this motion;

                 and



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             • The Supervisors of Elections for Broward, Collier, Indian River,

                 Lake, Lee, Manatee, Marion, Pasco, and Seminole Counties take no

                 position on this motion.

        Despite their diligent efforts, Plaintiffs have been unable to ascertain the

position of the remaining Defendants in this action more than twenty-four hours

after attempting to meet and confer with their counsel.

        Pursuant to Northern District of Florida Local Rule 7.1(F), I further certify

that, according to the word count of the word processing system used to prepare

this document, the foregoing Motion and Incorporated Memorandum contain 900

words.

                                                       s/ Stuart C. Naifeh




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